
100 N.Y.2d 532 (2003)
ADA RODRIGUEZ, Appellant,
v.
TRUSTEES OF COLUMBIA UNIVERSITY IN THE CITY OF NEW YORK et al., Respondents.
Court of Appeals of the State of New York.
Submitted April 28, 2003.
Decided May 13, 2003.
Motion, insofar as it seeks disqualification of Chief Judge Kaye etc., dismissed upon the ground that the Court of Appeals has no authority to entertain the motion made on nonstatutory grounds. The application seeking recusal is referred to the Chief Judge for individual consideration and determination. Chief Judge Kaye denies the referred motion for recusal.
